         Case 1:21-mj-00202-GMH Document 13 Filed 04/01/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :        CRIMINAL NO. 21-mj-202
               v.                              :
                                               :
RUBEN VERASTIGUI,                              :
                                               :
                       Defendant.              :



                    PROTECTIVE ORDER GOVERNING DISCOVERY

       To expedite the flow of discovery material between the parties and adequately protect
personal identity information and other sensitive information, as well as to comply with the Crime
Victims’ Rights Act (CVRA) 18 U.S.C. § 3771, it is, pursuant to the Court’s authority under Fed.
R. Crim. P. 16(d)(1) and with the consent of the parties, ORDERED:
                                           All Materials
       1.      Limitations on Use - All materials provided by the United States in preparation
for, or in connection with, any stage of this case (collectively, “the materials”) are subject to this
protective order (“the Order”) and may be used by the defendant and defense counsel (defined as
counsel of record in this case) solely in connection with the defense of this case, and for no other
purpose, and in connection with no other proceeding, without further order of this Court.
       2.      Confidential Materials – Defense counsel and the defendant shall treat all
names/titles of child pornography files, coconspirator and victim names, usernames, and
identifying information, as well as identifying information (telephone numbers, usernames)
associated with the undercover agent in this case, as confidential.    These usernames, identifying
information, and file names shall not be used at public hearings or quoted or copied in documents
filed with the Court unless those documents are filed under seal.
       3.      Limitation on Disclosure – Defendant may review discovery containing these
items at any time in the presence of defense counsel, defense counsel’s legal assistants or other
employees assisting in defense preparation.        However, the defendant shall not be permitted to
keep or take with him such discovery.

                                                    3
           Case 1:21-mj-00202-GMH Document 13 Filed 04/01/21 Page 2 of 3




       4.         Limitations on Copying Materials - Defense counsel and defendant may
disclose, make copies of, or reveal discovery containing the above-mentioned items to defense
counsel’s legal assistants and other employees assisting in defense preparation and to defense
experts, provided that counsel instructs such other persons that further disclosure is prohibited.
Such copies and reproductions shall be treated in the same manner as the original materials.      The
defendant, defense counsel, and authorized persons shall not disclose any notes or records of any
kind that they make in relation to the contents of the materials, without prior written consent of the
Government or further order of the Court, and all such notes or records are to be treated in the
same manner as the original materials.
       5.    Preventing duplication of materials during viewings - If defense counsel
authorizes the materials to be viewed by the defendant or any court-authorized person, defense
counsel shall ensure that the defendant or such court-authorized person does not photograph, take
screen shots, or otherwise duplicate or disseminate the materials.


                                        Scope of this Order
      6.    At Termination of Proceedings – Defense counsel may retain the materials upon
the conclusion of the case.   This Order shall remain in force after the conclusion of the case and
shall continue to govern the use, disclosure, and retention of the materials.
      7.    Automatic exclusions from this Order - The restrictions set forth in this Order do not
apply to documents that are or become part of the public court record, including documents that
have been received in evidence at other trials, nor do the restrictions in this Order limit defense
counsel in the use of the materials in judicial proceedings in this case, except as described below.
      8.     No ruling on discoverability or admissibility - This Order does not constitute a
ruling on the question of whether any particular material is properly discoverable or admissible
and does not constitute any ruling on any potential objection to the discoverability of any material.


       SO ORDERED this 1st day of April, 2021.
                                                                           Zia M. Faruqui
                                                                           2021.04.01
                                                                           18:21:39 -04'00'
                                               _________________________________________
                                               THE HONORABLE ZIA M. FARUQUI
                                               UNITED STATES MAGISTRATE JUDGE

                                                  4
        Case 1:21-mj-00202-GMH Document 13 Filed 04/01/21 Page 3 of 3




                            CERTIFICATE OF SERVICE

       I hereby certify that a copy of the Consent Motion for Protective Order was served upon
counsel of record through the electronic court filing system, this 30th day of March, 2021.



                            By:       /s/     April N. Russo
                                   April N. Russo
                                   Assistant United States Attorney
                                   PA Bar. Bar 313475
                                   555 4th Street, N.W.
                                   Washington, D.C. 20530
                                  (202) 252-1717
                                  April.russo@usdoj.gov




                                              5
